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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

THOMAS CARPENTER,                         )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )                        Case No.: 8:19-cv-183
                                          )
PLANTATION HOMEOWNERS, INC.,              )
                                          )
      Defendant.                          )
__________________________________________/

            PLAINTIFF’S COMPLAINT WITH DEMAND FOR JURY TRIAL

       COMES NOW Plaintiff, THOMAS CARPENTER (hereinafter “Plaintiff” or “Carpenter”),

by and through the undersigned counsel and files his complaint against Defendant PLANTATION

HOMEOWNERS, INC. (hereinafter “Defendant” or Plantation”), and states the following:

                                  NATURE OF THE CLAIMS

       1.      This is an action for monetary damages, pursuant to the Age Discrimination in

Employment Act 29 U.S.C. §§ 621, et seq. (hereinafter the “ADEA”).

       2.      This is an action brought pursuant to the Fair Labor Standards Act, as amended, 29

U.S.C. § 201, et seq. (the FLSA), seeking overtime wages, minimum wages, liquidated damages,

declaratory relief, and attorney’s fees and costs.

       3.      This action is to redress Defendant’s unlawful employment practices against

Plaintiff, including Defendant’s unlawful discrimination against Plaintiff because of his age

leading to his unlawful termination.




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                                 JURISDICTION AND VENUE

       4.      This Court has jurisdiction of the claims herein pursuant to 28 U.S.C. §§ 1331

and 1343, as this action involves federal questions regarding deprivation of Plaintiff’s civil rights

under the ADEA and the FLSA.

       5.      Venue is proper in this district pursuant to 28 U.S.C. §1391(b) because a substantial

part of the events or omissions giving rise to this action, including the unlawful employment

practices alleged herein occurred in this district.

                                          THE PARTIES

       6.      Plaintiff, CARPENTER, is a citizen of the United States, and was at all times

material, a citizen of the State of Florida residing in Hillsborough County.

       7.      Defendant, PLANTATION, is a Florida Not For Profit Corporation, with its

principal place of business in Tampa, Florida.

       8.      Defendant is an employer as defined by the all laws under which this action is

brought and employs the requisite number of employees, at least twenty (20).

                               PROCEDURAL REQUIREMENTS

       9.      Plaintiff has complied with all statutory prerequisites to filing this action.

       10.     On or about May 21, 2018, Plaintiff dual-filed a claim with the Florida Commission

on Human Relations (hereinafter the “FCHR”) and the Equal Employment Opportunity

Commission (hereinafter the “EEOC”), against Defendant, satisfying the requirements of 42

U.S.C. § 2000e-5(b) and (e), based on age and retaliation. (See copy of Charge of Discrimination,

attached hereto and incorporated herein as Exhibit 1).

       11.     Plaintiff’s EEOC charge was filed within three hundred (300) days after the alleged

unlawful employment practices occurred.



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       12.     On or about November 27, 2018 the EEOC issued to Plaintiff a Notice of Right to

Sue. (See copy of Notice of Right to Sue, attached hereto and incorporated herein as Exhibit 2).

       13.     This complaint was filed within ninety (90) days Plaintiff’s receipt of the EEOC’s

Right to Sue letter.



                                             FACTS

       14.     At all times material, Plaintiff worked for Defendant in Florida.

       15.     Plaintiff was employed by Defendant for approximately nine months.

       16.     At the time of his termination, Plaintiff held the position of Architectural Control

Committee Coordinator.

       17.     While employed by Defendant, Plaintiff satisfactorily performed the job

requirements of his position.

       18.      Plaintiff was a full-time employee who regularly worked, or exceeded, forty hours

per week.

       19.     Plaintiff was sixty-five years old, at the time he was unlawfully terminated.

       20.     During his employment, Plaintiff was subjected to disparate treatment and

discrimination on the base of his age.

       21.     Defendant further, failed to properly compensate Plaintiff for his hours worked as

Defendant consistently required Plaintiff to work more than forty hours but only compensated

Plaintiff for forty hours each week.

       22.     In May 2018, Plaintiff intended to retire, as such Plaintiff gave Defendant a one

month notice of his intent to retire.




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       23.      On May 2, 2018, immediately upon receipt of Plaintiff’s notification of his intent

to retire, Defendant unlawfully terminated him.

       24.      Upon information and belief, similarly situated younger employees were allowed

to work through a notice period when they tendered their resignation.

       25.      Plaintiff has been damaged by Defendant’s illegal conduct.



                     Count 1: Age Discrimination in Violation of the ADEA

       26.      Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations stated in

Paragraphs 1-25, above.

       27.      At all times material, Defendant employed twenty (20) or more employees and

qualified as an employer within the meaning of the ADEA.

       28.      Defendants engaged in intentional age discrimination in the terms and conditions

of Plaintiff’s employment, including, but not limited to, Plaintiff’s termination.

       29.      Defendants’ conduct violated the ADEA.

       30.      Plaintiff has satisfied all statutory prerequisites for filing this action.

       31.      Defendant’s discriminatory conduct, in violation of ADEA, has caused Plaintiff to

suffer a loss of pay, benefits, and prestige.

       32.      Defendant’s actions have caused Plaintiff to suffer mental and emotional distress,

entitling him to compensatory damages.

       33.      Defendant has engaged in discriminatory practices with malice and reckless

indifference to Plaintiff’s federally protected rights, thereby entitling him to punitive damages.




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                              Count 2: Fair Labor Standards Act Violations

           33.   Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations stated in

Paragraphs 1-25, above.

           34.   Plaintiff’s employment provided for a forty (40) hour work week, but throughout

his employment, Plaintiff was required to work and did work a substantial number of hours in

excess of forty (40) hours per work week.

           35.   At all times material, Defendant failed to comply with the FLSA, as Plaintiff

worked for Defendant in excess of the maximum hours provided by law, but no provision was

made by Defendant to compensate Plaintiff at the rate of time and one-half for the excess hours

worked.

           36.   Defendant’s failure to pay Plaintiff the required overtime was intentional and

willful.

           37.   As the direct and legal consequence of Defendant’s unlawful acts, Plaintiff has

suffered damages and has incurred, or will incur, costs and attorneys’ fees.

      WHEREFORE, Plaintiff, requests this Honorable Court:

      a) Enter judgment requiring Defendant to pay back wages and back benefits found to be due

and owing at the time of trial, front-pay, compensatory damages, liquidated damages, including

emotional distress damages, in an amount to be proved at trial, punitive damages, and prejudgment

interest thereon;

      b) Grant Plaintiff his costs and an award of reasonable attorneys’ fees (including expert fees);

and

      c) Award any other and further relief as this Court deems just and proper.




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                                      JURY DEMAND

    Plaintiff hereby requests a trial by jury on all triable issues herein.

                                                    Respectfully Submitted:
                                                    /s/ Gary Martoccio
                                                    Gary J. Martoccio, Esq.
                                                    Florida Bar No.: 99040
                                                    Spielberger Law Group
                                                    202 S. Hoover Blvd.
                                                    Tampa, Florida 33609
                                                    T: (800) 965-1570 106
                                                    F: (866) 580-7499
                                                    Gary.Martoccio@spielbergerlawgroup.com

                                                    Counsel for Plaintiff




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                 EXHIBIT 1
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Mr.ThomasCarpenter                                                           (813)333・3691                                               10123152
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ThePlantationHomeowners,Inc,                                                            20十                                       813‑969.3991
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